                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


GEORGE BOURNAZIAN,                                )
                                                  )
                       Plaintiff,                 )
                                                  )
        v.                                        )           1:17CV00828
                                                  )
PRABHAVATHI FERNANDES, et al.,                    )
                                                  )
                       Defendants.                )

                                              ORDER

        This matter is before the Court on a Notice [Doc. #11] that Defendant CEMPRA, INC.,

has filed a voluntary petition in a Bankruptcy Court which may become dispositive of this

litigation.

        IT IS THEREFORE ORDERED that the Clerk of Court terminate this action

administratively in his records; and that any party shall have the right to reopen this case for

any purpose on motion and notice to all other parties, without prejudice to the rights of any of

the parties, at any time prior to the 90th day after the final termination of the bankruptcy

proceedings.

        This the 17th day of March, 2020.


                                                         /s/ Joi Elizabeth Peake
                                                        United States Magistrate Judge




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